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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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MARK I. SOKOLOW, et al.,

                            Plaintiffs,
                                                               ••
             v.                                                     ORDER
PALESTINIAN LIBERATION ORGANIZATION,:
                                                              04-cv-397 (GBD)
et al.,

                            Defendants.


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GEORGE B. DANIELS, District Judge:

      By order and mandate of the Second Circuit Court of Appeals, the District Court judgment is

VACATED and the case is hereby ordered DISMISSED for want of jurisdiction.



Dated: December 1, 2016
       New York, New York
                                                      SO ORDERED .




                                                                 . DANIELS
                                                                TA TES DISTRICT JUDGE
